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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

    HISPANIC FEDERATION, PODER
    LATINX, VERONICA HERRERA-
    LUCHA, NORKA MARTÍNEZ, A.
    DOE, and B. DOE,
                Plaintiﬀs,
    v.
                                                        Case No. 4:23-cv-218
    CORD BYRD, in his oﬃcial capacity
    as Florida Secretary of State, and
    ASHLEY MOODY, in her oﬃcial
    capacity as Florida Attorney General,
                Defendants.


                                     COMPLAINT

         Plaintiﬀs Hispanic Federation, Poder Latinx, Veronica Herrera-Lucha, Norka

Martínez, A. Doe, and B. Doe1 bring this action against Defendants Florida Secretary

of State Cord Byrd and Florida Attorney General Ashley Moody in their oﬃcial

capacities, and allege the following:

                                  INTRODUCTION

         1.    ]is is a lawsuit challenging harsh, unnecessary, and irrational

restrictions on community-based voter registration speech and activity, in violation



1
    Plaintiffs A. Doe and B. Doe respectfully seek leave to proceed under pseudonyms in this
action. Their motion to proceed under pseudonyms and supporting memorandum are forthcoming.
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of the First and Fourteenth Amendments and federal civil rights statutes.

      2.     Plaintiffs bring this action to prevent enforcement of a new Florida law

that unconstitutionally burdens and chills their core political speech and

associational rights, diminishing their eﬀorts—and the eﬀorts of other individuals

and community-based groups—to encourage civic engagement and democratic

participation by assisting Florida citizens in registering and exercising their

fundamental right to vote. The individual plaintiffs also seek to prevent enforcement

of this law because it unconstitutionally discriminates against them on the basis of

their citizenship status.

      3.     Plaintiﬀs’ voter registration eﬀorts are “core political speech” involving

“interactive communication concerning political change.” Meyer v. Grant, 486 U.S.

414, 422 (1988). Plaintiﬀs’ endeavors to assist others in registering to vote are

themselves political and philosophical statements, signaling that Plaintiﬀs value the

democratic process and believe in the capacity of the popular will to shape the

composition and direction of the government. ]is untailored and overbroad law

cannot possibly survive the exacting scrutiny applied to such restrictions on political

speech.

      4.     ]e right to vote is “a fundamental political right, because [it is]

preservative of all rights.” Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886). And

“discriminatory and unfair registration laws and procedures can have a direct and



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damaging eﬀect on voter participation in elections.” H.R. REP. NO. 103-9, at 3,

(1993). Such registration laws “disproportionately harm voter participation by

various groups, including the disabled and racial minorities.” Id.

      5.     Civic organizations have routinely taken steps to assist individuals in

registering to vote in order to ensure broad participation in elections. ]ese

community-based voter registration eﬀorts are particularly important in Florida,

which ranks 47th in the percentage of its citizen voting age population registered to

vote out of all 50 states and the District of Columbia.

      6.     Instead of enacting sensible regulations regarding voter registration and

encouraging the registration of all eligible Florida voters, on May 24, 2023,

Governor Ron DeSantis signed Senate Bill 7050 into law. Laws of Fla. ch. 2023-120

(CS for SB 7050). ]e bill revises section 97.0575 of the Florida Statutes and adds

a host of burdens on organizations and individuals who assist their fellow Floridians

in registering to vote, including provisions that make Florida uniquely restrictive

among the states. Id. § 4. ]e bill will take eﬀect on July 1, 2023. Id. § 52.

      7.     Among other things, the newly-revised section 97.0575 (“the Law”)

requires that, before engaging in any voter registration activities, a third-party voter

registration organization must provide the Department of State’s Division of

Elections with an aﬃrmation that each person collecting or handling voter

registration applications on behalf of the organization “is a citizen of the United



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States.” Fla. Stat. § 97.0575(1)(f).2

       8.      In the event of a violation, the Law imposes a $50,000 ﬁne on the

organization for “each such person” collecting or handling a registration application

on the organization’s behalf, Fla. Stat. § 97.0575(1)(f), and authorizes the Secretary

of State to refer any instance in which the Secretary “reasonably believes that a

person has committed a violation of this section” to the Attorney General for

enforcement, id. § 97.0575(8).

       9.      The majority of Plaintiffs Hispanic Federation’s and Poder Latinx’s

voter registration canvassers are non-citizens who are authorized to work in the

United States, i.e., legal permanent residents or participants in deferred action or

temporary protected status programs. ]e Law leaves Hispanic Federation and Poder

Latinx with no ability to conduct voter registration activity at any signiﬁcant scale

without risking substantial civil sanctions. And the Law will prevent the individual

plaintiﬀs from collecting or handling voter registration applications altogether.

       10.     ]e Law is inordinately burdensome and will render Plaintiﬀs’ voter

registration activities costlier, more resource-intensive, and less eﬀective. Coupled

with civil penalties that could consume large portions of these civic organizations’

budgets, these regulations carry devastating consequences and violate Plaintiﬀs’



2
    Unless otherwise noted, statutory citations are to the statute as amended by SB 7050. See Laws
of Fla. ch. 2023-120, § 4 (amending Fla. Stat. § 97.0575 (2022)).

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constitutional rights.

      11.    ]e Law will also chill protected speech by Plaintiﬀs’ staﬀ and

volunteers who are U.S. citizens, both because of the diﬃculties associated with

conﬁrming citizenship status, and because Plaintiﬀs cannot maintain the same level

of activity while shouldering the burden of the added risks and drain of resources

that carrying out their protected activities in compliance with the Law would require.

      12.    ]e Law transforms core civic expression and constitutionally

protected activity into an extraordinarily risky enterprise. Hiring staﬀ and

encouraging volunteers to participate in voter registration activity is an important

part of the Plaintiﬀs’ associational activity and their organizational missions. But in

light of the signiﬁcant limitations on who can associate with Plaintiﬀs and the

immense civil liability the Law creates, Plaintiﬀs anticipate—and are already

experiencing—a decline in their ability to recruit volunteers and hire staﬀ to

disseminate their message of democratic participation and conduct their voter

registration work.

      13.    Because Plaintiﬀs’ voter registration eﬀorts will be deterred, burdened,

or scaled back as a result of these requirements, the Law will result in an overall

reduction in the total quantum of speech, expression, and association Plaintiﬀs

engage in.

      14.    ]e Law further unlawfully discriminates against individual plaintiﬀs



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Veronica Herrera-Lucha, Norka Martínez, A. Doe, and B. Doe on the basis of their

citizenship status in violation of the Fourteenth Amendment’s Equal Protection

Clause, and unlawfully interferes with their statutory rights to make contracts under

42 U.S.C. § 1981.

      15.    ]ese onerous and overbroad requirements do not serve, and cannot be

justiﬁed by, any compelling or even legitimate interest.

      16.    Unless the challenged provision of the Law is enjoined, Plaintiﬀs’

constitutionally protected political speech and activity will continue to be chilled.

Plaintiﬀs, as well as many other individuals and groups, will communicate fewer

civic and nonpartisan political messages and refrain from engaging in associational

activity important to advancing their missions and beliefs. ]e public—and

particularly the Latino communities that Plaintiﬀs serve—will have fewer options to

register to vote, and fewer opportunities to associate with Plaintiﬀs in meaningful

civic activities. And the individual plaintiﬀs, all of whom have authorization to work,

will lose their source of employment and income as canvassers solely because of

their citizenship status, with devastating attendant ﬁnancial consequences for

themselves and their families.

      17.    For these reasons, and those speciﬁcally alleged herein, Plaintiﬀs seek

a declaratory judgment and injunction prohibiting Defendants from enforcing the

challenged requirements of the Law and permitting Plaintiﬀs’ constitutionally



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protected community-based voter registration speech and activities to continue.

                          JURISDICTION AND VENUE

      18.    ]is action is brought under the Constitution and laws of the United

States. ]e Court, therefore, has subject-matter jurisdiction pursuant to 28 U.S.C.

§§ 1331, 1343, and 1357, and 42 U.S.C. §§ 1981 and 1983. It also has jurisdiction

to grant the declaratory relief requested under the Declaratory Judgment Act, 28

U.S.C. §§ 2201–02, and Federal Rule of Civil Procedure 57.

      19.    ]is Court has personal jurisdiction over each Defendant because each

is a citizen of Florida and their principal places of business are in Tallahassee.

      20.    Venue in this District is proper pursuant to 28 U.S.C. § 1391(b) because

all Defendants reside in this District, and because a substantial portion of the events

giving rise to these claims occurred in this District.

                                      PARTIES

   A. Plaintiﬀs

      21.    Plaintiﬀ HISPANIC FEDERATION is a 501(c)(3) nonproﬁt,

nonpartisan, community organizing, and advocacy organization. Hispanic

Federation’s mission is to empower and advance the Hispanic community, support

Hispanic families, and strengthen Latino institutions through work in the areas of

education, health, immigration, civic engagement, economic empowerment, and the

environment, including by promoting voter engagement. Hispanic Federation works



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locally, statewide in Florida, and nationally to strengthen Latino nonproﬁts, promote

public policy advocacy, and bring to scale a portfolio of innovative community

programs through three essential pillars: membership services, advocacy services,

and community assistance programs.

      22.    Hispanic Federation carries out its voter engagement work through all

three essential service pillars. ]is work assists the Hispanic electorate to register to

vote, apply for vote-by-mail ballots, and vote on election day and during early

voting. ]ese activities are meant to ensure the representation of the Hispanic

community’s interests in government by helping Hispanic voters become involved

in elections and civic participation. Hispanic Federation engages with voters across

Florida, but primarily operates in Broward, Hillsborough, Lake, Miami-Dade,

Orange, Osceola, Polk, Seminole, and Volusia Counties.

      23.    Hispanic Federation is a registered third-party voter registration

organization. During the 2016 and 2020 election cycles, Hispanic Federation

registered over 78,000 voters.

      24.    Plaintiﬀ PODER LATINX is a ﬁscally sponsored project of Tides

Advocacy, a California nonproﬁt public beneﬁt corporation. Poder Latinx is a social

justice, organizing, and civic engagement organization whose mission is to help

ensure that Latinx communities, inclusive of immigrants and people of color, are

decision-makers in our democracy. Poder Latinx works locally and statewide in



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Florida to expand the electorate by conducting year-round civic engagement

activities, community empowerment, leadership development, and issue-based

organizing with a focus on three key issues: immigrant justice, climate justice, and

economic justice.

      25.    Poder Latinx carries out its mission to expand the electorate by

encouraging people to register to vote through in-person activities, via digital

campaigns, and telephone banking. In 2020, Poder Latinx’s voter turnout program

knocked on 105,000 doors ahead of the 2020 election. Poder Latinx’s civic

engagement work is focused on educating voters on how to exercise their right to

vote, the accepted types of identiﬁcation necessary to vote, how to request vote-by-

mail ballots, and how to return their ballots. Poder Latinx’s voter registration, voter

education, and civic engagement work is carried out throughout the state of Florida

with a speciﬁc focus on Lake, Lee, Orange, Osceola, Palm Beach, Polk, Seminole,

and Volusia Counties.

      26.    Poder Latinx is a registered third-party voter registration organization.

Since 2019, Poder Latinx has registered over 40,000 Florida voters.

      27.    Plaintiﬀ VERONICA HERRERA-LUCHA is a Florida resident. She is

a citizen of El Salvador and a Lawful Permanent Resident of the United States. She

is currently employed as the Florida State Field Director of Mi Vecino, a registered

third-party voter registration organization. Ms. Herrera-Lucha has been canvassing



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for third-party voter registration organizations since 2016, both as a volunteer and

as a paid staff member. She is a community leader in Polk, Osceola, and Orange

Counties with training from three supervisors of elections of three counties. She

also holds a Juris Doctor degree from Universidad de Administracion de Negocios

in El Salvador, a Master’s degree in political sciences from the Universidad Catolica

Centroamericana in El Salvador, and holds a Diploma in Citizenship Participation

from the U.S. State Department. Ms. Herrera-Lucha is a mother with four

dependents, and her current job at Mi Vecino is both professionally and

economically important to her.

      28.     Plaintiﬀ A. DOE is a Florida resident. She is a Venezuelan citizen who

has applied for asylum in the United States and has been granted Temporary

Protected Status (TPS) and work authorization by federal immigration authorities.

She currently works at least 30 hours per week as a canvasser, helping to register

people to vote in Florida. A. Doe has been canvassing for third-party voter

registration organizations since 2019, both as a volunteer and as a paid staff member.

      29.     Plaintiﬀ B. DOE is a Florida resident. He is a Lawful Permanent

Resident of the United States. He currently works in a paid staff position as a field

organizer, and in that role, he both assists with canvassing to register people to vote

in Florida and supervises other canvassers in the field. B. Doe has been canvassing

since 2021.



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      30.    Plaintiﬀ NORKA MARTÍNEZ is a Florida resident. She has applied for

asylum in the United States, and has been granted Temporary Protected Status

(“TPS”) and work authorization from federal immigration authorities. She currently

works in a paid staﬀ position as a canvasser who helps to register people to vote in

Florida. Ms. Martínez is limited in her physical health, and her work as a canvasser

has enabled her to take care of her health while also being able to support and provide

for her family.

   B. Defendants

      31.    Florida’s Secretary of State, CORD BYRD, is the State’s chief election

oﬃcer. See Fla. Stat. § 97.012. ]e Secretary’s duties consist of, among other things,

“[o]btain[ing] and maintain[ing] uniformity in the interpretation and implementation

of the election laws.” Id. § 97.012(1). To that end, he may adopt “uniform standards

for the proper and equitable interpretation and implementation” of the election laws.

Id. ]e statutory responsibilities of the Secretary and his Division of Elections also

include managing voter registration and overseeing third-party voter registration

organizations, including collecting the third-party voter registration organization’s

affirmations that they are in compliance with the Law. Id. § 97.0575(1). If the

Secretary reasonably believes that a person or organization has violated the Law, he

may refer the matter to the Attorney General for enforcement. Id. § 97.0575(8).

      32.    Florida’s Attorney General, ASHLEY MOODY, is tasked with the



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power and responsibility to enforce the Law, after receiving a referral from the

Secretary. Fla. Stat. § 97.0575(8). ]e Attorney General may institute a civil action

for a violation of the Law or to prevent a violation of the Law. Id.

                                          FACTS

    A. @ird-Party Voter Registration Organizations

       33.    ]ird-party voter registration organizations play an important role in

registering voters. Between 2009 and November 5, 2021, Florida’s supervisors of

elections received over 2,149,700 voter registration applications from third-party

voter registration organizations.

       34.    Plaintiﬀs Hispanic Federation and Poder Latinx are registered third-

party voter registration organizations. Both organizations help reach voters who

might not otherwise register to vote, including voters with limited access to

technology or limited proﬁciency in the English language.

       35.    Third-party voter registration eﬀorts are especially important in

Florida. According to the U.S. Census Bureau, approximately 9,770,000 Florida

citizens were registered to vote as of November 2022, out of a citizen voting age

population of 15,449,000.3 ]erefore, as of November 2022, approximately 37

percent of eligible Floridians were not registered to vote. ]e Census Bureau’s data



3
    U.S. Census Bureau, Voting and Registration in the Election of November 2022 (April 2023),
https://www.census.gov/data/tables/time-series/demo/voting-and-registration/p20-586.html.


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establishes that Florida’s voter registration numbers are among the worst in the

country, ranking 47th in the percentage of its citizen voting age population registered

to vote out of all 50 states and the District of Columbia.

      36.    Eligible Floridians can register to vote using a state-issued voter

registration form. An online voter registration system is also available. ]at online

system has previously crashed, however, before crucial deadlines. For example, the

online system crashed right before book closing for the 2018 general election,

resulting in Floridians being unable to register online right before the deadline. ]e

online system malfunctioned again in 2020, which again resulted in voters being

unable to register online the night before the deadline.

   B. Florida’s Pattern of Increasing Burdens on @ird-Party Voter
      Registration Organizations

      37.    ]e Law follows a pattern in Florida of chilling third-party voter

registration activities under the guise of election integrity.

      38.    In 2011, the Florida Legislature passed HB 1355, an omnibus election

bill to address “fraud” following the 2008 election. Laws of Fla. ch. 2011-40. HB

1355 reduced the amount of time third-party voter registration organizations could

submit voter registration applications from 10 days to 48 hours. ]e change had a

racially discriminatory eﬀect, as third-party voter registration organizations register

Black and Hispanic voters at twice the percentage as white voters. And for the

reasons alleged here, this Court invalidated the 48-hour requirement for placing an


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undue burden on third-party voter registration organizations. See League of Women

Voters of Fla. v. Browning, 863 F. Supp. 2d 1155, 1167–68 (N.D. Fla. 2012).

      39.    ]e Florida Legislature sharpened its voter registration regulations

again following the 2020 election. 2021’s SB 90 required third-party voter

registrations to provide a disclaimer and meet delivery restrictions that severely

impeded their eﬀorts. Laws of Fla. ch. 2021-11. In particular, SB 90 required third-

party voter registration organizations to provide a disclaimer to voter registration

applicants expressing “that the organization might not deliver the application”

properly. Id. § 7, at 8 (amending Fla. Stat. § 97.0575(3)(a)). ]is suggestion that a

third-party voter registration organization may not register a voter properly degraded

the trust community members have with these organizations.

      40.    SB 90 also penalized third-party voter registration organizations if they

failed to deliver registration applications to the “supervisor of elections in the county

in which the applicant resides” within 14 days. Id. ]ese provisions, among other

election code changes, are subject to ongoing litigation in League of Women Voters

of Fla., Inc. v. Lee, 595 F. Supp. 3d 1042 (N.D. Fla. 2022), aﬀ’d in part, vacated in

part, rev’d in part, sub nom. League of Women Voters of Fla., Inc. v. Fla. Sec’y of

State, 66 F.4th 905 (11th Cir. 2023).

   C. SB 7050’s Non-Citizen Provision

      41.    ]e     regulatory    assault   against   third-party   voter   registration



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organizations continued in 2023 with SB 7050.

      42.    SB 7050 is a purported ‘solution’ in search of a problem. Put simply,

SB 7050 classiﬁes all non-citizens as untrustworthy based solely on their citizenship

status, including non-citizens who have served in the U.S. military and are veterans.

]e prohibition exists, even though non-citizens can work in Florida’s Division of

Elections and Department of Highway Safety & Motor Vehicles, with access to the

same information contained on voter registration forms.

      43.    When Florida Senators debated the justiﬁcation for SB 7050’s non-

citizen ban, the bill’s sponsors merely cited “protecting [] sensitive information” on

completed registration forms and “that there are certain rights in our country that

only citizens get to enjoy.”4 ]is is plainly inconsistent with non-citizens’ eligibility

for eligibility for positions in Florida’s government that involve handling the same

information at issue here.

      44.    Senator Travis Hutson, who co-introduced the bill, later commented

that they wanted to make sure “illegal[s]” were not handling voter registration

applications, although SB 7050 contains no exception for non-citizens who are

legally present in the United States. No evidence of non-citizens mishandling voter

registration applications was discussed during SB 7050’s two Senate committee



4
    Fla. Senate Floor Debate on SB 7050, at 49:36–50:49 (Apr. 26, 2023), available at
https://www.ﬂsenate.gov/media/VideoPlayer?EventID=1_nty0d3lq-202304261000.


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hearings.

      45.    On May 24, 2023, Governor Ron DeSantis signed SB 7050 into law.

      46.    The Law requires that, before engaging in any voter registration

activities, a third-party voter registration organization must provide the Division of

Elections with an aﬃrmation that “each person collecting or handling voter

registration applications on behalf of” the organization “is a citizen of the United

States.” Fla. Stat. § 97.0575(1)(f).

      47.    In the event of a violation, the Law imposes a $50,000 ﬁne on the

organization for “each such person” collecting or handling the application on the

organization’s behalf, Fla. Stat. § 97.0575(1)(f), and authorizes the Secretary of State

to refer any instance in which he “reasonably believes that a person has committed

a violation of this section” to the Attorney General for enforcement, id. § 97.0575(8).

      48.    ]ere is no cap on the total amount that any organization could be ﬁned

for such persons’ assistance, nor is there any knowledge requirement to impose such

a ﬁne. Assistance from three persons who the organization did not realize were non-

citizens would result in a ﬁne of $150,000. Assistance from ﬁfteen persons who the

organization did not realize were non-citizens would result in a ﬁne of $750,000.

      49.    Exacerbating the Law’s harsh penalties, the Law’s commands are

impermissibly vague and overbroad, such that the regulated individuals and

organizations do not know which requirements apply to them and what steps to take



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to ensure proper compliance with the Law. For example, the words describing the

conduct at issue—“collecting” and “handling”—are nowhere deﬁned. By way of

example, it is unclear whether the Law forbids legal permanent residents from

reviewing applications to ensure compliance with registration requirements,

supervising other canvassers who are physically collecting applications,

encouraging an eligible citizen to complete an application without physically

touching the application, directing eligible citizens to the organization’s online

application portal, or even being present in an oﬃce where applications are being

processed. All of these, and a myriad of other questions, are not addressed by the

statutory language. ]e Law’s vague and overbroad requirements will diminish the

participatory message of Plaintiﬀs, other civic organizations, and civic-minded

individuals and chill constitutionally protected core political speech.

      50.     ]e non-citizen provision is only one of a number of burdens that SB

7050 imposes on third-party voter registration organizations to hamper their mission

and limit the eﬃcacy of their work. For example:

            • SB 7050 also requires that, before engaging in any voter registration

               activities, a third-party voter registration organization must provide the

               Division of Elections with an aﬃrmation that each person collecting or

               handling voter registration applications on behalf of the organization

               has not been convicted of a felony violation of the Election Code, a


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       felony violation of an oﬀense speciﬁed in sections 825.103 or

       98.0751(2)(b)–(c) or in chapters 817, 831, or 837 of the Florida

       Statutes. Fla. Stat. § 97.0575(1)(f).

    • SB 7050 requires third-party voter registration organizations to provide

       a receipt to the registrant requiring extensive information. Id.

       § 97.0575(4).

    • SB 7050 shortens the period in which a third-party voter registration

       organization must deliver an application to the supervisor of elections

       from 14 to 10 days, and imposes daily ﬁnes for late-submitted

       applications. Id. § 97.0575(5)(a).

    • SB 7050 prohibits a person collecting registration applications from

       retaining the registrants’ personal information for any reason other

       than to register to vote, meaning that such information cannot be used

       for other civic education or get out the vote efforts. Id. § 97.0575(7).

    • SB 7050 prevents third parties from assisting voters to apply to vote-

       by-mail, only allowing supervisors of elections to accept vote-by-mail

       applications from voters or their immediate family members. Id.

       § 101.62(1)(a).

    • And SB 7050 imposes a new ﬁne on third-party voter registration

       organizations for “mail[ing] or otherwise provid[ing] a voter


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             registration application upon which any information about an applicant

             has been ﬁlled in before it is provided to the applicant.” Id.

             § 97.0575(11).

   D. @e Law’s Impact on Plaintiﬀs

      51.    ]e Law imposes severe burdens on the voter registration activities

engaged in by Plaintiﬀs and similar groups and individuals. ]ese requirements will

limit Plaintiﬀs’ eﬀectiveness in promoting democratic participation, make it costlier

and more resource-intensive to conduct voter registration, and chill speech because

of the overbroad and unwarranted limitations the Law places on who can assist

voters with registration applications, as well as the substantial ﬁnes for

noncompliance with these limitations.

      52.    ]e Law prohibits Plaintiﬀs from continuing to employ most of their

existing workforce. Plaintiﬀs can no longer rely on many of their most experienced

canvassers to assist with voter registration eﬀorts, including those who have risen to

senior and leadership positions within the organization, and those who have

developed deep relationships with the communities Plaintiﬀs serve.

      53.    Speciﬁcally, the Law will result in Hispanic Federation losing

approximately 70 percent of its canvasser workforce. And the Law will freeze Poder

Latinx’s voter registration work: Approximately 90 percent of Poder Latinx’s staﬀ

are non-citizens, including its ﬁeld organizers, community organizers, canvassers,



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and a quality control agent charged with ensuring voter registration forms are

correctly completed.

      54.    Poder Latinx’s non-citizen staﬀ include canvassers who knock on

doors, ﬁeld leads who drive the canvassers to diﬀerent communities, and community

organizers who coordinate community engagement programs. All of these staﬀ

members are paid, and they handle completed voter registration forms in the ﬁeld.

]ese staﬀ then return completed voter registration forms to county supervisors of

elections after Poder Latinx performs quality assurance checks. Without these non-

citizen staﬀ members, Poder Latinx cannot complete its voter registration activities

and engage in constitutionally protected speech.

      55.    Because of the Law, Poder Latinx has already been unable to ﬁll open,

paid positions, and has had to turn down otherwise qualiﬁed candidates who applied

for those positions based solely on their citizenship.

      56.    ]e Law’s prohibition on non-citizens handling and collecting voter

registration forms will result in Plaintiﬀs losing not only their non-citizen staﬀ, but

the institutional knowledge they carry. Without these non-citizen staﬀ members,

Plaintiﬀs cannot sustain their voter registration activities and are unable to engage

in constitutionally protected speech, and will have to divert substantial resources to

hiring and training new staﬀ and volunteers.

      57.    Many of Hispanic Federation’s non-citizen canvassers who handle and



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return voter registration forms have worked with Hispanic Federation since 2016

and are among the organization’s most experienced canvassers. ]ese non-citizen

volunteers and staﬀ have developed deep relationships within their communities,

including with local business owners who allow Hispanic Federation to conduct

voter registration eﬀorts at their locations. ]ese senior non-citizen volunteers also

train new canvassers. Losing these senior members would decimate the senior ranks

of Hispanic Federation’s voter registration leaders, leaving them unable to

participate in their First Amendment protected speech.

      58.    ]e Law also burdens Poder Latinx with the loss of institutional

knowledge and relationships its non-citizen staﬀ have. Like Hispanic Federation,

Poder Latinx ﬁeld leads and community organizers build relationships with

businesses in the community—like grocery stores and restaurants—who allow Poder

Latinx canvassers to register voters on their properties. Without these relationships,

Poder Latinx’s speech will be limited. ]e staﬀ those local businesses know are now

prohibited from engaging in voter registration work.

      59.    Likewise, the knowledge and training that Poder Latinx non-citizen

staﬀ have will be gone forever. Many senior staﬀ at Poder Latinx have worked their

way up: from canvassers, to ﬁeld leads, to organizers. Knowledge obtained on their

journey to Poder Latinx organizers is shared with new staﬀ starting work as

canvassers. ]e Law’s prohibition on non-citizens handling and collecting voter



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registration forms will result in Poder Latinx losing all of its non-citizen staﬀ,

including the institutional knowledge they carry. Instead of expanding voter

registration work across the state, Poder Latinx will be lucky to ﬁeld a single team

to register voters with the Law in place.

      60.    ]e Law will also eﬀectively prevent Plaintiﬀs from working with

many U.S. citizens as well. ]e Law requires voter registration organizations to

aﬃrm that all of the people handling and collecting applications on their behalf are

citizens, but conﬁrming citizenship status is no easy task. As one court recently

explained:

             Determining whether a person acquired or derived
             citizenship is a complex inquiry and illustrates the ﬂuidity
             one may experience with respect to immigration status.

             For derivative citizenship, the analysis can turn on, among
             other things: which parent is a citizen, when that parent
             became a citizen, whether the person’s parents were
             married, whether and when the U.S. citizen parent lived in
             the United States and for how long, whether the father
             legitimated the child, whether the child lived in the
             custody of the U.S. citizen parent or parents, and at what
             point the child lived in the custody of the U.S. citizen
             parent(s).

             In some cases, a determination on derivative citizenship
             may depend on knowing whether a person’s
             grandparent(s) were U.S. citizens or whether a person or
             their parent(s) served in the U.S. Armed Forces.

Gonzalez v. Immigr. & Customs Enf’t, 416 F. Supp. 3d 995, 1004 (C.D. Cal. 2019)

(citations and paragraph numbers omitted), rev’d and vacated on other grounds, 975


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F.3d 788 (9th Cir. 2020).

      61.   ]ere is no reliable government database for Plaintiﬀs to search to

determine the citizenship status of an employee or volunteer. Indeed, even

government oﬃcials routinely mistake persons’ citizenship status, because the

central immigration database “‘frequently’ shows naturalized citizens as green card

holders” and “provides no information on derivative citizenship,” which is why

“many U.S. citizens become exposed to possible false arrest when ICE relies solely

on deﬁcient databases.” Gonzalez, 416 F. Supp. 3d at 1018 (citation omitted).

      62.   Diﬃculty determining citizenship status is a known problem in Florida,

as recent public reports have demonstrated:

            Miami-Dade County’s records show that between
            February 2017 and February 2019, ICE sent the jail 420
            detainer requests for people listed as U.S. citizens, only to
            later cancel 83 of those requests—evidently because the
            agency determined, after the fact, that its targets were in
            fact U.S. citizens. ]e remaining individuals’ detainers
            were not canceled, and so they continued to be held for
            ICE to deport them.

ACLU of Florida, Citizens on Hold: A Look at ICE’s Flawed Detainer System in

Miami-Dade County (Mar. 20, 2019), https://www.acluﬂ.org/en/publications/

citizens-hold-look-ices-ﬂawed-detainer-system-miami-dade-county.

      63.   Because the Law imposes a strict liability standard that threatens

Plaintiﬀs with substantial ﬁnancial penalties based on a mistake about an employee’s

or volunteer’s citizenship status, Plaintiﬀs will have to turn away help even from


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citizens. For example, Hispanic Federation will no longer let individuals assist with

voter registration eﬀorts unless they can demonstrate proof of citizenship, requiring

them to turn down even U.S.-citizen staﬀ and volunteers who cannot (or do not wish

to) furnish the requisite proof.

      64.    ]e Law’s strict liability standard and substantial ﬁnes have also

dissuaded Poder Latinx from re-engaging certain volunteer bases altogether. For

example, Poder Latinx will no longer maintain its community service partnerships

that enabled local student volunteers to assist with voter registration eﬀorts, because

of the added hurdle of conﬁrming the students’ citizenship status.

      65.    Even the threat of an investigation by the Department of State or

Attorney General’s Office for a violation of the Law is suﬃcient to chill Plaintiffs’

speech and association, let alone the threat of enforcement.

      66.    ]e harm from losing staﬀ members and institutional knowledge is

further compounded by the threat of ﬁnes. The Law’s fines threaten Plaintiﬀs with

substantial monetary liability, which will chill their voter registration speech and

activities and is already aﬀecting their planning for Florida’s 2023 local elections.

      67.    Even the ﬁne imposed for one noncitizen volunteer or staffer is a

substantial amount of money that creates a chilling eﬀect on voter registration

organizations. For example, Hispanic Federation’s largest funders expressed they

may withhold donations unless voter registration eﬀorts cease in Florida, as a result



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of the $50,000 penalty. Even if Hispanic Federation is able to maintain its funding

sources, Hispanic Federation’s budget last year for its Florida programming

comprised just over $600,000, which makes each $50,000 penalty a severe hit on

their programming budget. A $50,000 ﬁne would result not only in civic engagement

programs being cut back, but also public health initiatives—like Hispanic

Federation’s vaccine program—facing ﬁnancial cuts as well. ]e political and health

implications will fall disproportionately on communities of color where Hispanic

Federation focuses its services.

      68.    Plaintiﬀs will have to curtail their voter registration activities and divert

scarce resources to comply with the myriad regulations the Law imposes. If Plaintiﬀs

continue engaging in voter registration eﬀorts, the Law will force them to expend

signiﬁcant time and resources toward hiring and training new staﬀ and rebuilding

the community relationships that are necessary to their work. ]ese organizations do

not have the staﬀ resources to eﬀectively comply with section 97.0575’s

requirements and continue their current levels of voter registration activities. ]e

new requirements will signiﬁcantly and unnecessarily burden Plaintiﬀs’ scarce

organizational resources that they would otherwise spend helping voters register,

following up with voters, and undertaking other activities to advance their missions.

      69.    In response to the Law’s threat of civil penalties, some organizations

are considering imposing a moratorium on all voter registration activities starting



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July 1, 2023.

      70.    Even if Plaintiﬀ organizations do not impose a complete moratorium

on all voter registration activities, they are likely to signiﬁcantly scale back the

volume of voter registration drives they conduct to help Floridians register—either

intentionally or simply because a majority of their staﬀ and volunteers will be

forbidden from assisting. ]is scaling-back of voter registration activity will be

necessary because Plaintiﬀs anticipate—and, indeed, are already experiencing—a

decline in staﬀ and volunteer engagement or diﬃculty recruiting new staﬀ or

volunteers to engage in these activities given the Law’s limitations.

      71.    ]e Law will also impact and harm the communities and constituents

that Plaintiﬀs serve and work with, including both citizens and non-citizens.

      72.    Plaintiﬀs will register substantially fewer citizens to vote than they

could absent the Law. In this way, the Law will impact Hispanic voters who are part

of the community and constituency Hispanic Federation serves through its voter

registration programs. Hispanic Federation works closely with Hispanic citizens to

help them register to vote, relying on part on a network of key community activists

who help shape Hispanic Federation’s agenda and who play a critical role in

implementing Hispanic Federation’s programs. ]us, the Law will impact and harm

Hispanic Federation’s constituents.

      73.    Likewise, the Law will impact the Latinx community, which is part of



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the constituency Poder Latinx serves through its voter registration programs. Poder

Latinx works closely with Latinx citizens to help them register to vote and mobilize

them to vote, relying in part on a network of key community activists who help shape

Poder Latinx’s agenda and who play a critical role in implementing Poder Latinx’s

programs. ]us, the Law will impact and harm Poder Latinx’s constituents.

      74.    As for the individual plaintiﬀs, Veronica Herrera-Lucha, Norka

Martínez, A. Doe, and B. Doe are all current canvassers, employed in paid staﬀ

positions to assist and encourage Floridians to register to vote. ]eir jobs involve

handling and collecting voter registration applications. ]eir jobs provide them with

a source of income to care for themselves and their families. If the Law takes eﬀect,

Veronica Herrera-Lucha, Norka Martínez, A. Doe, and B. Doe will no longer be able

to work as canvassers, and would lose the stability and income that their jobs

provide.

      75.    For example, Plaintiff Veronica Herrera-Lucha is the Florida State

Field Director of Mi Vecino, a registered third-party voter registration organization.

In this role, she both canvasses and oversees other canvassers doing voter

registration work. If the Law takes effect, she will be unable to hold this position.

The Law will harm Ms. Herrera-Lucha professionally, and will financially impact

her ability to provide for herself and her four dependents.

      76.    Plaintiﬀ Norka Martínez is limited in her physical health, and her work



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as a canvasser has enabled her to take care of her health while also being able to

support and provide for her family. If the Law takes eﬀect, she will no longer be able

to work as a canvasser, and would lose the support for her family and stability for

her own health that her work provided.

      77.    Plaintiff A. Doe currently works at least 30 hours per week as a

canvasser, helping to register people to vote in Florida. If the Law takes effect, she

will no longer be able to work as a canvasser, and would lose her main source of

income as well as meaningful work that supports her community.

      78.    Likewise, Plaintiff B. Doe receives a good salary for his work assisting

with voter registration. If the Law takes effect, he and his family will suffer severe

economic impact, making it difficult for his family to pay rent.

      79.    As a result of the Law, each of the individual plaintiffs will have their

core political speech and association not just chilled—but prohibited.


                             CLAIMS FOR RELIEF

                    COUNT I: Free Speech and Association
                (Violation of Plaintiﬀs’ First Amendment Rights
                         Pursuant to 42 U.S.C. § 1983)

      80.    Plaintiﬀs incorporate Paragraphs 1–3, 6–8, 9–13, 15–50, and 51–79 of

this Complaint into this section by reference.

      81.    ]e Law imposes severe burdens on the voter registration activities

engaged in by Plaintiﬀs and similarly situated third-party voter registration


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organizations and individuals. ]ese requirements will limit Plaintiﬀs’ eﬀectiveness

in promoting democratic participation, make it costlier and more resource-intensive

for Hispanic Federation and Poder Latinx to conduct voter registration, and chill

speech because of the overbroad and unwarranted limitations they place on who can

assist voters with registration applications, as well as the substantial ﬁnes for

noncompliance with these limitations.

      82.    ]e First Amendment to the U.S. Constitution prohibits abridgment of

freedom of speech.

      83.    ]e Law directly restricts Hispanic Federation’s and Poder Latinx’s

core political speech and expressive conduct in communicating their belief in the

capacity of the popular will to shape the composition and direction of the

government. Advocating for that belief through their endeavors to assist others in

registering to vote is in itself a political and philosophical statement.

      84.    Moreover, the Law implicates Hispanic Federation’s and Poder

Latinx’s associational rights in banding together to engage in voter registration

activity and in assisting community members to join the civic community by

registering to vote. In addition to limiting Hispanic Federation’s and Poder Latinx’s

associational activities with voters, the Law completely forecloses the individual

plaintiffs from associational activity with both voters and with the plaintiff

organizations themselves.



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      85.    Like the circulation of an initiative petition for signatures, voter

registration activity is “the type of interactive communication concerning political

change that is appropriately described as ‘core political speech.’” Meyer v. Grant,

486 U.S. 414, 422–23 (1988). “Public endeavors which ‘assist with voter registration

are intended to convey a message that voting is important,’ and public endeavors

which expend resources ‘to broaden the electorate to include allegedly under-served

communities’ qualify as expressive conduct which implicates the First Amendment

freedom of association.” VoteAmerica v. Schwab, --- F. Supp. 3d ---, Case No. 21-

2253-KHV, 2023 WL 3251009, at *10 (D. Kan. May 4, 2023) (quoting Democracy

N.C. v. N.C. State Bd. of Elections, 476 F. Supp. 3d 158, 223 (M.D.N.C. 2020)).

      86.    “[L]aws that govern the political process surrounding elections—and,

in particular, election-related speech and association—go beyond merely the

intersection between voting rights and election administration, veering instead into

the area where ‘the First Amendment has its fullest and most urgent application.’”

League of Women Voters v. Hargett, 400 F. Supp. 3d 706, 722 (M.D. Tenn. 2019)

(citation omitted).

      87.    ]e Law’s onerous requirements, coupled with substantial civil

penalties, burden Hispanic Federation’s and Poder Latinx’s political expression,

diminishing their ability to convey and advance their message by engaging more

individuals in the political process.



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      88.    ]e threat of civil penalties for failure to ensure that each and every

individual handling completed voter registration forms—both paid and volunteer—

is U.S. citizen is a severe burden on Hispanic Federation’s and Poder Latinx’s First

Amendment rights. ]e threat of civil penalties is further compounded by the Law’s

strict liability standard. Taken together, these threats will severely restrict Hispanic

Federation’s and Poder Latinx’s abilities to hire or partner with would-be canvassers.

      89.    ]e imposition of substantial ﬁnancial penalties, which are multiplied

by each non-citizen person who assists the organization, severely burdens Hispanic

Federation’s and Poder Latinx’s First Amendment rights. Even the ﬁnancial penalty

levied for one inadvertent violation would constitute a large percentage of Hispanic

Federation’s and Poder Latinx’s budgets and when imposed would decimate their

ability to conduct any of their civic work.

      90.    ]e Law is an impermissible content-based restriction on speech

because speakers who engage in protected activity about voter registration are

subject to restrictions that do not apply to other messages.

      91.    Punitive civil sanctions, such as those imposed by section

97.0575(1)(f), also inhibit the exercise of First Amendment freedoms.

      92.    Because of the chilling eﬀect of the risk of punitive civil sanction,

section 97.0575 unconstitutionally infringes upon the First Amendment rights of

Hispanic Federation and Poder Latinx. And as for the individual plaintiﬀs, they will



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have their core political speech and association not just chilled, but prohibited.

Chilling Plaintiﬀs’ voter registration activities will “reduce[] the voices available to

convey political messages.” Buckley, 525 U.S. at 210 (]omas, J., concurring).

Reducing the voices available to speak in favor of political participation and voter

registration runs afoul of the First Amendment.

      93.    ]ese requirements are not narrowly tailored to serve any compelling

state interest. Indeed, these requirements do not actually advance any legitimate

regulatory interest, and serve little purpose other than to dissuade civic organizations

and individuals from engaging in voter registration activity. Under the exacting

scrutiny applied in Meyer, or any other level of scrutiny, these requirements fail.

                     COUNT II: Substantial Overbreadth
       (Violation of Plaintiﬀs Hispanic Federation’s and Poder Latinx’s
            First Amendment Rights Pursuant to 42 U.S.C. § 1983)

      94.    Plaintiﬀs incorporate Paragraphs 1–3, 6–8, 9–13, 15–26, 31–50, and

51–79 of this Complaint into this section by reference.

      95.    ]e Law imposes severe burdens on the voter registration activities

engaged in by Hispanic Federation, Poder Latinx, and similar third-party voter

registration organizations. ]ese requirements will limit Hispanic Federation’s and

Poder Latinx’s eﬀectiveness in promoting democratic participation, make it costlier

and more resource-intensive to conduct voter registration, and chill speech because

of the overbroad and unwarranted limitations they place on who can assist voters



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with registration applications, as well as the substantial ﬁnes for noncompliance with

these limitations.

      96.    To the extent any of the conduct proscribed by section 97.0575 can be

lawfully prohibited under the First Amendment, the Law is unconstitutionally

overbroad, as it regulates a substantial amount of constitutionally protected

expression. See United States v. Williams, 553 U.S. 285, 292 (2008).

      97.    “]e overbreadth doctrine is designed ‘to prevent the chilling of

protected expression.’” Speech First, Inc. v. Cartwright, 32 F.4th 1110, 1125 (11th

Cir. 2022) (quoting Massachusetts v. Oakes, 491 U.S. 576, 584 (1989)).

      98.    In construing the overbreadth doctrine, courts recognize the breadth of

a law can be “magniﬁed by its strict-liability phrasing.” United States v. Kelly, 625

F.3d 516, 522 (8th Cir. 2010). Here, the threat of liability for even unknowing

conduct, coupled with the high ﬁne resulting from such liability, will require third-

party voter registration organizations to forego registration opportunities that would

have been plainly lawful because of the heightened diligence required to conﬁrm the

organizations are operating within the Law’s conﬁnes.

      99.    A statute’s overbreadth is judged by its “‘possible direct and indirect

burdens on speech.’” Weaver v. Bonner, 309 F.3d 1312, 1318 (11th Cir. 2002)

(citations omitted). ]e indirect burdens imposed by the Law plainly demonstrate its

overbreadth. For example, Hispanic Federation will no longer permit individuals to



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assist with voter registration eﬀorts unless they can demonstrate proof of citizenship,

requiring them to turn down even U.S.-citizen staﬀ and volunteers who cannot

furnish the requisite proof. And Poder Latinx will no longer maintain its community

service partnerships that enabled local student volunteers to assist with voter

registration eﬀorts, because of the added hurdle of conﬁrming the students’

citizenship status.

      100. Because Hispanic Federation, Poder Latinx, and other third-party voter

registration organizations will be “inhibited in utilizing their protected ﬁrst

amendment communications because of the existence of the overly broad statute,”

the Law is unconstitutionally overbroad. Clean Up ’84 v. Heinrich, 759 F.2d 1511,

1514 (11th Cir. 1985).

          COUNT III: Burden on Political Speech and Association in
                Connection with the Fundamental Right to Vote
       (Violation of Plaintiﬀs Hispanic Federation’s and Poder Latinx’s
   First and Fourteenth Amendment Rights, Pursuant to 42 U.S.C. § 1983)

      101. Plaintiﬀs incorporate Paragraphs 1–8, 9–13, 15–26, 31–50, and 51–73

of this Complaint into this section by reference.

      102. ]e Law imposes severe burdens on the voter registration activities and

communications engaged in by Hispanic Federation, Poder Latinx, and similar third-

party voter registration organizations. ]ese requirements will limit Hispanic

Federation’s and Poder Latinx’s eﬀectiveness in promoting democratic

participation, make it costlier and more resource-intensive to conduct voter


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registrations, and chill speech because of the overbroad and unwarranted limitations

they place on who can assist voters with registration application and the substantial

ﬁnes for noncompliance with these limitations. ]e Law will also impact and harm

the communities and constituents that Hispanic Federation and Poder Latinx serve

and work with, including both citizens and non-citizens. Hispanic Federation and

Poder Latinx will register substantially fewer citizens to vote than they could absent

the Law.

      103. Voter registration is a pre-requisite to exercising the fundamental right

to vote in Florida.

      104. ]e Law directly interferes with the fundamental right to vote by

frustrating eﬀorts to help individuals register who are otherwise often left out of

government-run registration processes.

      105. ]e Law also directly interferes with the ability of members of Hispanic

Federation and Poder Latinx to register to vote through voter registration eﬀorts by

banning their non-citizen staﬀ, members, and volunteers from collecting and

handling voter registration applications.

      106. ]e Law directly restricts Hispanic Federation’s and Poder Latinx’s

voter registration activity, which is protected by the First Amendment, and thus, in

turn, implicates the right to vote.

      107. ]e Law also directly interferes with the ability of unregistered citizens



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in the communities where Hispanic Federation and Poder Latinx operate to register

to vote.

      108. ]e burdens that the Law places on Hispanic Federation and Poder

Latinx—and the fundamental voting rights of the individuals in the communities

they serve—are substantial.

      109. Compliance with the Law, to the extent it could even be achieved,

would hamper Hispanic Federation’s and Poder Latinx’s ability to operate their voter

registration programs and would require the expenditure of substantial additional

resources, diverting resources from other core organizational activities. Hispanic

Federation and Poder Latinx would have to expend substantial additional staﬀ and

volunteer time and additional person and ﬁnancial resources, much of which they

simply do not have.

      110. ]e State does not have interests that make these substantial burdens on

Hispanic Federation’s and Poder Latinx’s rights necessary.

                COUNT IV: Due Process – Void for Vagueness
            (Violation of Plaintiﬀs’ Fourteenth Amendment Rights,
                         Pursuant to 42 U.S.C. § 1983)

      111. Plaintiﬀs incorporate Paragraphs 1–2, 6–8, 9–13, 15–36, 46–49, 63–

70, and 72 of this Complaint into this section by reference.

      112. Exacerbating the Law’s harsh penalties, the Law’s commands are

impermissibly vague and overbroad, such that the regulated individuals and



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organizations do not know which requirements apply to them and what steps to take

to ensure proper compliance with the Law.

      113. Under due-process principles, a law is “‘void for vagueness if its

prohibitions are not clearly deﬁned.’” Dream Defs. v. Governor of Fla., 57 F.4th 879,

890 (11th Cir. 2023) (quoting Grayned v. City of Rockford, 408 U.S. 104, 108

(1972)).

      114. “Unconstitutionally vague laws fail to provide ‘fair warning’ of what

the law requires, and they encourage ‘arbitrary and discriminatory enforcement’ by

giving government oﬃcials the sole ability to interpret the scope of the law.” Keister

v. Bell, 29 F.4th 1239, 1258 (11th Cir. 2022) (quoting Grayned, 408 U.S. at 108–09).

      115. “]e First Amendment context ampliﬁes these concerns because an

unconstitutionally vague law can chill expressive conduct by causing citizens to

‘steer far wider of the unlawful zone’ to avoid the law's unclear boundaries.” Keister,

29 F.4th at 1258–59 (quoting Grayned, 408 U.S. at 109); see also Smith v. Goguen,

415 U.S. 566, 573 (1974) (explaining that when “a statute’s literal scope, unaided by

a narrowing state court interpretation, is capable of reaching expression sheltered by

the First Amendment, the doctrine demands a greater degree of speciﬁcity than in

other contexts”).

      116. ]e words used to describe the proscribed conduct at issue—

“collecting” and “handling,” Fla. Stat. § 97.0575(1)(f)—are nowhere deﬁned in the



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Law.

       117. By way of example, it is unclear whether the Law forbids legal

permanent residents from reviewing applications to ensure compliance with

registration requirements, supervising other canvassers who are physically

collecting applications, encouraging an eligible citizen to complete an application

without physically touching the application, directing eligible citizens to the

organization’s online application portal, or even being present in an oﬃce where

applications are being processed. All of these, and a myriad of other questions, are

not addressed by the statutory language.

       118. ]e Law’s vague and overbroad requirements will diminish the

participatory message of Plaintiﬀs, other civic organizations, and civic-minded

individuals and chill constitutionally protected core political speech.

                         COUNT V: Equal Protection –
                     Diﬀerential Treatment of Non-Citizens
(Violation of Plaintiﬀs Veronica Herrera-Lucha’s, Norka Martínez’s, A. Doe’s,
 and B. Doe’s Fourteenth Amendment Rights, Pursuant to 42 U.S.C. § 1983)

       119. Plaintiﬀs incorporate Paragraphs 1–2, 6–8, 15–32, 41–47, 49, and 74–

79 of this Complaint into this section by reference.

       120. Veronica Herrera-Lucha, Norka Martínez, A. Doe, and B. Doe are all

current canvassers, employed in paid staﬀ positions to assist Floridians with

registering to vote. ]ese jobs provide them with a source of income to care for

themselves and their families. Veronica Herrera-Lucha, Norka Martínez, A. Doe,

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and B. Doe are lawfully present in the United States: they are Lawful Permanent

Residents, or have Temporary Protected Status and work permits. But because they

are not U.S. citizens and their current jobs involve handling and collecting ballot

applications, Veronica Herrera-Lucha, Norka Martínez, A. Doe, and B. Doe will lose

their jobs if the Law takes eﬀect, and would lose the stability and income that their

jobs provide. ]is ﬁnancial impact will be severe—for example, it will make it

diﬃcult for B. Doe and his family to continue to aﬀord their rent.

       121.    “As a general matter, a state law that discriminates on the basis of

alienage can be sustained only if it can withstand strict judicial scrutiny.” Bernal v.

Fainter, 467 U.S. 216, 219 (1984). ]e Supreme Court has applied strict scrutiny to

invalidate laws excluding non-citizens from “employment in permanent positions in

the competitive class of the state civil service,” “membership in the State Bar,” “the

practice of civil engineering,” and appointment as a notary. Id. at 220, 226 (citations

omitted).5

       122. Strict scrutiny is especially warranted when assessing “state laws that

aﬀect[] resident aliens,” and are not limited solely to “illegal aliens.” Estrada v.

Becker, 917 F.3d 1298, 1309 (11th Cir. 2019) (emphasis in original). “]e Supreme



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    Because individuals who collect and handle voter registration applications are not “invested
either with policymaking responsibility or broad discretion in the execution of public policy that
requires the routine exercise of authority over individuals,” the “narrow political-function
exception” to strict scrutiny does not apply here. Bernal, 467 U.S. at 221, 225–26.


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Court has noted that a ‘more searching judicial inquiry’ may be needed when a state

law targets ‘discrete and insular minorities’ who have no direct voice in the political

process,” id. at 1310 (quoting United States v. Carolene Prods. Co., 304 U.S. 144,

152 n.4), and “has in fact found that resident aliens are the type of ‘discrete and

insular’ minorities who have no political voice and thus qualify for heightened

scrutiny,” id.6

       123. ]e Law’s exclusion of non-citizens—including Veronica Herrera-

Lucha, Norka Martínez, A. Doe, and B. Doe, members of Hispanic Federation’s and

Poder Latinx’s staﬀ, and many people in the constituencies that Hispanic Federation

and Poder Latinx serve—from assisting third-party voter registration organizations

with collecting and handling voter registration applications cannot withstand strict

scrutiny.

       124. ]ere is no compelling (or even rational) reason to exclude all non-

citizens from handling and collecting voter registration applications.

       125. Nor is the Law narrowly tailored to serve Defendants’ aims. At

minimum, the Law is “fatally underinclusive,” specifying “only one particular post




6
    See, e.g., Foley v. Connelie, 435 U.S. 291, 294 (1978) (“[T]he Court has treated certain
restrictions on aliens with ‘heightened judicial solicitude,’ a treatment deemed necessary since
aliens—pending their eligibility for citizenship—have no direct voice in the political processes.”
(citation omitted)); LeClerc v. Webb, 419 F.3d 405, 417 (5th Cir. 2005) (“Characterizing resident
aliens as a Carolene Products minority reconciles the breadth of rights and responsibilities they
enjoy with their lack of political capacity.”).


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with respect to which the State asserts a right to exclude aliens” while allowing non-

citizens to perform other similar functions. Bernal, 467 U.S. at 222. For example, a

“permanent resident alien may apply and be appointed” as a notary public, a position

which likewise involves handling signatures and other personal information. Fla.

Stat. § 117.01(1). And non-citizens can also work in Florida’s Division of Elections

and Department of Highway Safety & Motor Vehicles, with access to the same

information contained on voter registration forms.

                 COUNT VI: Non-Citizens’ Rights to Contract
          (Violation of Plaintiﬀs Herrera-Lucha’s, Norka Martínez’s,
             A. Doe’s, and B. Doe’s Rights under 42 U.S.C. § 1981)

      126. Plaintiﬀs incorporate Paragraphs 1–2, 6–8, 15–32, 41–47, 49, and 74–

79 of this Complaint into this section by reference.

      127. ]e Law is also preempted by a core federal civil rights statute, 42

U.S.C. § 1981.

      128. ]e Law prohibits non-citizens—including Veronica Herrera-Lucha,

Norka Martínez, A. Doe, and B. Doe, members of Hispanic Federation’s and Poder

Latinx’s staﬀ, and many people in the constituencies that Hispanic Federation and

Poder Latinx serve—from entering into contracts to collect and handle applications

on behalf of third-party voter registration organizations.

      129. Veronica Herrera-Lucha, Norka Martínez, A. Doe, and B. Doe are all

current canvassers, employed in paid staﬀ positions to assist Floridians with



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registering to vote. ]ese jobs provide them with a source of income to care for

themselves and their families. Veronica Herrera-Lucha, Norka Martínez, A. Doe,

and B. Doe are lawfully present in the United States: they are Lawful Permanent

Residents, or have Temporary Protected Status and work permits. But because they

are not citizens of the United States and their current jobs involve handling and

collecting ballot applications, Veronica Herrera-Lucha, Norka Martínez, A. Doe,

and B. Doe will lose their jobs if the Law takes eﬀect, and would lose the stability

and income that their jobs provide. ]e Law inappropriately interferes with their

right to make and enforce contracts under Section 1981.

      130. Section 1981 provides:

            All persons within the jurisdiction of the United States
            shall have the same right in every State and Territory to
            make and enforce contracts, to sue, be parties, give
            evidence, and to the full and equal beneﬁt of all laws and
            proceedings for the security of persons and property as is
            enjoyed by white citizens, and shall be subject to like
            punishment, pains, penalties, taxes, licenses, and
            exactions of every kind, and to no other.

      131. When Congress amended the statute in 1970 to replace the term

“citizens” with “all persons within the jurisdiction of the United States,” Congress

explicitly expanded the guarantee of equal contract rights to non-citizens. See Gen.

Bldg. Contractors Ass’n v. Pennsylvania, 458 U.S. 375, 385 (1982); Guerra v.




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Manchester Terminal Corp., 498 F.2d 641, 653–54 (5th Cir. 1974).7

       132. In enacting Section 1981, Congress occupied the ﬁeld regarding the

right of non-citizens to make and enforce contracts. See Takahashi v. Fish & Game

Comm’n, 334 U.S. 410, 419 (1948) (describing Section 1981, then codiﬁed at

8 U.S.C. § 41, as part of a “comprehensive legislative plan for the nation-wide

control and regulation of immigration and naturalization”).

       133. Congress having so provided, this Law is preempted by Section 1981.


                                  PRAYER FOR RELIEF

       WHEREFORE, Plaintiﬀs respectfully request that the Court enter judgment

in their favor and:

       A. Declare that section 97.0575(1)(f) of the Florida Statutes, as amended by

             SB 7050, violates the First and Fourteenth Amendments, as well as

             42 U.S.C. § 1981;

       B.    Preliminarily and permanently enjoin Defendants from enforcing section

             97.0575(1)(f), particularly the civil penalties contained therein;

       C.    Award Plaintiﬀs reasonable attorneys’ fees and their costs of suit; and

       D. Grant any other relief this Court deems just and proper.



7
    “[T]he decisions of the United States Court of Appeals for the Fifth Circuit (the ‘former Fifth’
or the ‘old Fifth’), as that court existed on September 30, 1981, handed down by that court prior
to the close of business on that date, shall be binding as precedent in the Eleventh Circuit.” Bonner
v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981).

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Respectfully submitted this 25th day of May, 2023,

                                            /s/ Nicholas L.V. Warren

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           * Motion for leave to appear pro hac vice forthcoming




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